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                                                                           Filed: April 30, 2025


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                             ________________________________

                              BRIEFING ORDER - CIVIL/AGENCY
                              _________________________________

        No.    25-1411, American Federation of State, County and Municipal v. SSA
                        1:25-cv-00596-ELH

        Briefing shall proceed on the following schedule:


        JOINT APPENDIX due: 06/09/2025

        BRIEF [Opening] due: 06/09/2025

        BRIEF [Response] due: 07/09/2025

        BRIEF [Reply] (if any) due: Within 21 days of service of response brief.


        The following rules apply under this schedule:

           •   Filings must conform to the Fourth Circuit Brief & Appendix
               Requirements as to content, format, and copies. The Requirements are
               available as a link from this order and at www.ca4.uscourts.gov. FRAP 28,
               30 & 32. NOTE: The Court’s preferred typefaces are Times New
               Roman, Century Schoolbook, and Georgia. The Court discourages the
               use of Garamond.
           •   The joint appendix must be paginated using Bates page numbering and the
               JA or J.A. format required by the Fourth Circuit Appendix Pagination &
               Brief Citation Guide. Appendix citations in the parties' briefs must use the
               same format. Local Rules 28(g) & 30(b)(4).
           •   All parties to a side must join in a single brief, even in consolidated cases,
               unless the court has granted a motion for leave to file separate briefs. Local
               Rules 28(a) & 28(d).
           •   Motions for extension of time should be filed only in extraordinary
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               circumstances upon a showing of good cause. Local Rule 31(c).
           •   If a brief is filed in advance of its due date, the filer may request a
               corresponding advancement of the due date for the next brief by filing a
               motion to amend the briefing schedule.
           •   If a brief is filed after its due date, the time for filing subsequent briefs will
               be extended by the number of days the brief was late.
           •   Failure to file an opening brief within the scheduled time may lead to
               dismissal of the case and imposition of sanctions against counsel. Local
               Rules 45 & 46(g).
           •   Failure to file a response brief may result in loss of the right to be heard at
               argument. FRAP 31(c).
           •   If a case has not been scheduled for a mediation conference, but counsel
               believes such a conference would be beneficial, counsel should contact the
               Office of the Circuit Mediator directly at 843-731-9099, and a mediation
               conference will be scheduled. In such a case, the reason for scheduling the
               conference will be kept confidential. Local Rule 33.
           •   The court may, on its own initiative and without prior notice, screen an
               appeal for decision on the parties' briefs without oral argument. Local Rule
               34(a).
           •   If a case is to be scheduled for argument, counsel will receive prior notice
               from the court.

                                           /s/ NWAMAKA ANOWI, CLERK
                                           By: Rachel Phillips, Deputy Clerk
